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                                                                                    United States District Court
                                                                                      Southern District of Texas
                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS                                  ENTERED
                                 HOUSTON DIVISION                                      October 18, 2021
                                                                                      Nathan Ochsner, Clerk

                             CIVIL ACTION NO. 4:21−cv−03392

                              ORDER FOR CONFERENCE
                                        AND
                         DISCLOSURE OF INTERESTED PARTIES

1.   Counsel shall appear for an initial pretrial and scheduling conference before:

                             United States Magistrate Judge Peter Bray
                                  on January 4, 2022 at 10:00 AM
                                      Courtroom 703, 7th Floor
                                          515 Rusk Avenue
                                           Houston, Texas

2.   Counsel shall file with the clerk within fifteen days from receipt of this order a certificate
     listing all persons, associations of persons, firms, partnerships, corporations, affiliates,
     parent corporations, or other entities that are financially interested in the outcome of this
     litigation. If a group can be specified by a general description, individual listing is not
     necessary. Underline the name of each corporation whose securities are publicly traded. If
     new parties are added or if additional persons or entities that are financially interested in the
     outcome of the litigation are identified at any time during the pendency of this litigation,
     then each counsel shall promptly file an amended certificate with the clerk.

3.   Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the filing of the
     complaint. The failure of plaintiff(s) to file proof of service within 90 days after the filing
     of the complaint may result in dismissal of this action by the court on its own initiative.

4.   After the parties confer as required by Fed. R. Civ. P. 26(f), counsel shall prepare and file
     not less than 10 days before the conference a joint discovery/case management.

5.   The court will enter a scheduling order at the conference.

6.   Counsel who file or remove an action must serve a copy of this order with the summons
     and complaint or with the notice of removal.

7.   Attendance by an attorney who has authority to bind the party is required at the conference.

8.   Counsel shall discuss with their clients and each other whether alternative dispute
     resolution is appropriate and at the conference shall advise the court of the results of their
     discussions.

9.   A person litigating pro se is bound by the requirements imposed upon counsel in this Order.

10. Failure to comply with this Order may result in sanctions, including dismissal of the action
    and assessment of fees and costs.
                                                                          By Order of the Court
